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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


   THE TRANSPARENCY PROJECT,

             Plaintiff,

   vs.
                                                          Case No. 4:20-cv-00467-SDJ
   UNITED STATES DEPARTMENT OF
   JUSTICE, et al.,

             Defendants


     PLAINTIFF’S SURREPLY IN OPPOSITION TO NON-FBI DEFENDANTS’
  MOTION FOR SUMMARY JUDGMENT and PLAINTIFF’S REPLY IN SUPPORT OF
              ITS CROSS-MOTION FOR SUMMARY JUDGMENT

         NOW COMES The Transparency Project, the Plaintiff, surreplying in opposition to the

 Defendants’ motion for summary judgment (“MSJ”) (Doc. No. 51) and replying in support of its

 cross-motion for summary judgment (Doc. No. 59):

         The NON-FBI DEFENDANTS’ OPPOSITION TO PLAINTIFF’S “CROSS-MOTION

 FOR SUMMARY JUDGMENT” (Doc. No. 62) is bizarre. The Defendants allege that the

 Plaintiff’s cross-motion is conclusory in a single-paragraph reply that is itself conclusory. They

 claim the cross-motion “does not actually move for summary judgment,” but that is hard to

 reconcile with the first paragraph, which plainly states that the Plaintiff is cross-moving for

 summary judgment. Even if the document is construed only as a response in opposition (rather

 than a cross-motion), it still establishes that the Defendants are not entitled to summary

 judgment.

         In the cross-motion, the Plaintiff cited numerous authorities (and the record) in support of

 its argument that the Defendants improperly used Glomar responses and national security


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 classifications. Cross-Motion 4-8 (citing authorities). In response, the Defendants did not

 respond at all. Not a single word. Likewise, the Plaintiff noted that because the declarations

 failed to identify the search terms used for some of the Plaintiff’s requests, that alone was fatal to

 the MSJ. Cross-Motion 3, citing SAI v. Transp. Sec. Admin., 315 F. Supp. 3d 218, 247 (D.D.C.

 2018) and Manatt v. United States Dep't of Homeland Sec., 473 F. Supp. 3d 409, 416–17 (E.D.

 Pa. 2020). Once again, the Defendants completely failed to respond. That contrasts markedly

 with the Government’s reply (Doc. No. 54) in support of its motion for summary judgment in

 Brian Huddleston v. Federal Bureau of Investigation, Case No. 4:20-cv-00447-ALM (E.D.Tex.),

 where the Government provided supplemental declarations to address the absent search terms.

          Even after the Plaintiff flagged the conclusory nature of the Defendants’ arguments, see

 MSJ 3-4, citing DiBacco v. Dep't of the Army, 926 F.3d 827, 834 (D.C. Cir. 2019), the

 Defendants failed to specifically apply FOIA exemptions to the requests of the Plaintiff. That is

 fatal.

          Summary judgment is available to the defendant in a FOIA case when the agency proves
          that it has fully discharged its obligations under FOIA, and there is no genuine issue of
          material fact, after the underlying facts and the inferences to be drawn from them are
          construed in the light most favorable to the FOIA requester. See Weisberg v. U.S. Dep't of
          Justice, 705 F.2d 1344, 1350 (D.C.Cir.1983). The agency may satisfy its burden of proof
          through the submission of affidavits that identify the documents at issue and explain why
          they fall under the claimed exemption. *621 Cooper Cameron Corp. v. U.S. Dep't of
          Labor, Occupational Safety & Health Admin., 280 F.3d 539, 543 (5th Cir.2002). These
          affidavits must be clear, specific and reasonably detailed while describing the
          withheld information in a factual and nonconclusory manner. Id. Further, the court
          will not grant summary judgment if there is contradictory evidence or evidence of agency
          bad faith. See Gallant v. NLRB, 26 F.3d 168, 171 (D.C.Cir.1994) (quoting Halperin v.
          CIA, 629 F.2d 144, 148 (D.C.Cir.1980)). If the agency meets all of these requirements,
          the court will normally accord the affidavits substantial weight. But a reviewing court
          may also inspect the content of agency documents in camera to determine whether they
          fall under any of the FOIA exemptions. See 5 U.S.C. § 552(a)(4)(B).

 Gahagan v. United States Citizenship & Immigration Services, 147 F. Supp. 3d 613, 620–21

 (E.D. La. 2015)(emphasis added). Why, for example, are “interview notes of OIG investigators”


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 and “all information provided by these confidential sources” (MSJ 82) covered by Exemption

 7(D)? Why can’t some of the information be redacted and the remainder produced? One simply

 cannot tell from reading the MSJ or the supporting declaration.

           With respect to the requests concerning former CIA Director David Petraeus, the Plaintiff

 noted in the cross-motion that the Defendants made no attempt to develop their arguments

 concerning the deliberative process privilege, the attorney-work product privilege, or the

 attorney-client privilege. Pages 76-83 of the MSJ do not cite a single legal opinion, for example.

 The Defendants simply invoke the words “deliberative process privilege,” “attorney-work

 product privilege,” and “attorney-client privilege,” with nothing further. Once again, the

 undersigned expected the Government to try to develop its argument on reply, not unlike the way

 it did in Huddleston, but the Government made no attempt. The Defendants conceded that they

 are applying their deliberative-process-privilege arguments to documents created and compiled

 by criminal investigators (i.e., OIG agents), for example, but they failed to cite any authority

 establishing that the privilege would apply. Indeed, the privilege generally would not apply:

           The executive deliberative process privilege protects inter-agency or intra-agency
           documents that disclose deliberative or policy-making processes of the
           agency. See, Sears, Roebuck & Co., 421 U.S. at 153, 95 S.Ct. at 1517–1518.
           Communications subsequent to the agency decision do not effect the decision making
           process and are not exempt. See, Id. 421 U.S. at 151, 95 S.Ct. at 1517. Furthermore,
           “purely factual material appearing in [deliberative] documents in a form that is
           severable without compromising the private remainder of the documents” is not
           exempt. See, Mink, 410 U.S. at 91, 93 S.Ct. at 838. Accordingly, the privilege exempts
           documents reflecting an agency's thinking process in formulating its policy and law, but
           documents detailing and explaining the agency's policy and law are not exempt. Sears,
           Roebuck & Co., 421 U.S. at 153, 95 S.Ct. at 1517–1518. If, however, an agency adopts or
           incorporates by reference a document covered by the Exemption 5 into a final opinion,
           that document loses Exemption 5 status and must be disclosed unless it falls within the
           coverage of another exemption. See, Id. 421 U.S. at 161, 95 S.Ct. at 1521–1523.

 Church of Scientology of Tex. v. I.R.S., 816 F. Supp. 1138, 1153 (W.D. Tex. 1993)(emphasis

 added).


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        The government's deliberative process privilege “protects predecisional materials
        ‘reflecting deliberative or policy-making processes,’ but not materials that are ‘purely
        factual.’ ” Skelton v. U.S. Postal Service, 678 F.2d 35, 38 (5th Cir.1982) (quoting EPA v.
        Mink, 410 U.S. 73, 87–89, 93 S.Ct. 827, 836–837, 35 L.Ed.2d 119 (1973)). See, Mead
        Data Central, Inc. v. U.S. Dept. of Air Force, 566 F.2d 242, 254 (D.C.Cir.1977)
        (discussion of privilege). As facts can be intermixed with analysis, a careful case-by-
        case analysis of the material sought is necessary. Skelton at 39. As the purpose of the
        privilege is to protect the full and free exchange of information in the agency, the test is
        whether disclosure would serve only to reveal the evaluative process by which a member
        of the decision-making chain arrived at his/her conclusion. Id. See, N.L.R.B. v. Sears,
        Roebuck & Co., 421 U.S. 132, 150, 95 S.Ct. 1504, 1516, 44 L.Ed.2d 29 (1975) (purpose
        of privilege).

 E.E.O.C. v. Fina Oil & Chem. Co., 145 F.R.D. 74, 75 (E.D. Tex. 1992)(emphasis added). If, for

 example, an OIG agent’s field notes reveal factual information about Mr. Petraeus’s criminal

 activity (which resulted in a guilty plea), then why would that be subject to the deliberative

 process privilege? The Defendants’ failure to brief the foregoing issues only proves the

 Plaintiff’s argument that in camera review is required. There is no way the Court can properly

 assess any of the Defendants’ (and particularly the CIA’s) FOIA exemptions where the

 Defendants have failed to brief and develop those issues. If the Court is to determine whether

 facts are intermingled in documents that are purportedly protected by the deliberative process

 privilege, attorney work-product privilege, etc., then in camera review is the only option.

        If the Defendants want to belatedly address some of the foregoing issues as a surreply to

 the cross-motion, then the Plaintiff will not object, provided that it gets an opportunity to

 surreply to that surreply. Otherwise, the Defendants’ MSJ should be denied and an in camera

 review should begin.




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                                             Respectfully submitted,

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                                      Certificate of Service

         On May 3, 2022, I filed a copy of this response with the Court’s ECF system, which
 should result in automatic notification via email to Asst. U.S. Attorney Andrea Parker, Counsel
 for the Defendants, at andrea.parker@usdoj.gov.

                                             /s/ Ty Clevenger
                                             Ty Clevenger




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